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                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF ARKANSAS
                                     WESTERN DIVISION

DAREL ADELSBERGER and
ANNETTE ADELSBERGER                                                             PLAINTIFFS

V.                                       Case No. 4:21-CV-471

UNION PACIFIC RAILROAD COMPANY                                                  DEFENDANT

UNION PACIFIC’S CORPORATE DISCLOSURE STATEMENT PURSUANT TO RULE 7.1

         COMES NOW Defendant, Union Pacific Railroad Company, by and through its counsel,

and pursuant to Rule 7.1 of the Federal Rules of Civil Procedure make the following disclosure:

         1.        Union Pacific Railroad Company, a Delaware company, is a wholly owned by

     Union Pacific Corporation, a publicly held corporation.

         2.        Union Pacific Corporation is publicly traded on the New York Stock Exchange

     under the symbol “UNP”.

         3.        No other individual has a direct pecuniary interest in the outcome of this

     litigation.

                                                 Respectfully Submitted,

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